 Case: 4:14-cv-00983-LRR Doc. #: 35 Filed: 12/31/14 Page: 1 of 3 PageID #: 397



                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

PHILLIP L. ROSEMANN,                          )
                                              )
       Plaintiff,                             )   Case No. 4:14-cv-983-LRR
vs.                                           )
                                              )   Judge: Honorable Linda R. Reade
ST. LOUIS BANK,                               )   (Chief Judge N. Dist. Iowa)
                                              )
       Defendant.                             )
                                              )

         MOTION FOR RELEASE OF GRAND JURY DOCUMENTS TO DEFENDANT
       COME NOW, Plaintiff and seeks permission to release to defendant St. Louis Bank,

Grand Jury documents secured in Rosemann et al. v. Sigillito et al., 10-CV-1165 (E.D. Mo.)

and in support states unto this Honorable Court as follows:

       The court in Rosemann et al. v. Sigillito et al., 10-CV-1165 (E.D. Mo.) approved a

method, pursuant to Fed. Crim. Rule 6(e), for identifying and securing the release of “grand

jury materials and other relevant information” for the use in the “pending civil action.”

(docket no. 411 pg. 4). The parties complied with the Courts directive and secured the release

of grand jury materials and other information for use in that case. (docket no. 579, 618, 620).

The Court also approved the release of documents from persons who voluntarily provided

documents to the U.S. Attorney’s Office during Sigillito’s criminal case if those persons

consented to the release of documents they provided. (docket no. 534).

       Plaintiff accordingly seeks court approval to turn over copies of grand jury materials

and other information secured in Rosemann v. Sigillito, 10-CV-1165 to defendant St. Louis

Bank and for permission to use the documents in this case.

                                         Page 1 of 3
 Case: 4:14-cv-00983-LRR Doc. #: 35 Filed: 12/31/14 Page: 2 of 3 PageID #: 398



       Fed. R. Crim. P. 6 (e)(3)(E)(I) provides that: “The court may authorize disclosure --

at a time, in a manner, and subject to any other conditions that it directs -- of a grand-jury

matter . . . preliminarily to or in connection with a judicial proceeding.”

       The parties lack access to the above documents from other sources. Sigillito and

Brown are serving their sentence in federal prison and securing documents from them is not

possible. Also, many of the documents outdate the various banks retention requirements. The

requested disclosure is the only available source for some these documents. Additionally, the

“continued need for secrecy is reduced in this case [because] the grand jury has long since

ceased its investigation” and also because “the civil litigants seek disclosure of independently

generated documents, as opposed to grand jury minutes or witness transcripts.” In re Grand

Jury Proceedings Relative to Perl, 838 F.2d 304, 308 (8th Cir. 1988).

       WHEREFORE, Plaintiff seeks permission to release to defendant St. Louis Bank,

Grand Jury documents secured in Rosemann et al. v. Sigillito et al., 10-CV-1165 (E.D. Mo.)

and for permission to use the documents in this case.


Respectfully submitted,                            Respectfully submitted,


GREEN JACOBSON, P.C.                               LAW OFFICES OF SEBASTIAN RUCCI

/s/ Jonathan F. Andres                             /s/ Sebastian Rucci
Jonathan F. Andres (E.D. Mo. 39531MO)              Sebastian Rucci (E.D. Mo. 178114CA)
7733 Forsyth Boulevard, Suite 700                  401 E. Ocean Blvd., Suite 1040
St. Louis, MO 63105                                Long Beach, CA 90802
Tel: (314) 862-6800                                Tel: (330) 720-0398
Email: andres@stlouislaw.com                       Email: SebRucci@gmail.com
Attorney for Plaintiffs                            Attorney for Plaintiffs


                                         Page 2 of 3
 Case: 4:14-cv-00983-LRR Doc. #: 35 Filed: 12/31/14 Page: 3 of 3 PageID #: 399



                               CERTIFICATE OF SERVICE

       I hereby certify that on December 31, 2014 a copy of the foregoing was filed

electronically. Notice of this filing will be sent to all parties via the Court’s electronic filing

system and parties may access this filing through the Court’s Case management/Electronic

Case Files (CM/ECF) found on the internet at https://ecf.moed.uscourts.gov.



                                                     /s/ Sebastian Rucci
                                                     Sebastian Rucci (E.D. Mo. 178114CA)




                                           Page 3 of 3
